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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS

ROGELIO DIZON




HC JOLIET, LLC
                   Plaintiff

                   V.
                                                                      ffi-:":            :::M
                                                                      Judge: Hon. Rebecca R. Pallmeyer ""'fd|C#/

                                                                       Magistrate Judge:

                   Defendant


                                  RESPONSE TO MOTION TO DISMISS

This is rny response to the Defendant's motion to have my civil case dismissed. The Defendant is claiming
they did not receive notice of summons in a timely manner. My original complaint was f,rled with the district
court on October 26,20L8. I was waiting for the court to approve the lawsuit, to my understanding the court
would notifii the Defendant through the Marshall. I had a status hearing on January 8,2019 at that time the
judge indicated that the Defendant had not been notified and the court would send them the notification. On
March 7 , 2019 I appeared in front of the judge but the Defendant did not appear. The hearing was rescheduled
for April 19,2019 at which time the Defendant did not appear again. There was a 4th hearing set for May 29,
2019 and again the Defendant did not appear. The Judge indicated to me at that time she would make sure
that the Defendant would be notified.

This corrrplaint is based on various incidents of discrimination, defamation of character, harassment and
hostile working conditions from the Hollywood Casino because of my Philippine origin. The casino
handbook outlines certain policies and procedures that I feel were not followed equally amongst me and
other "non-Philippine" origin employees in the same position. I was mistreated, skipped over for my
required timely breaks, given points for being tardy and absences that were held to a different standard then
other dealers and not according to company policy, disrespected, and retaliated against.

 I have worked for the Hollyrvood Casino from March 29, 1997 to July 12, 2016 as a Table Games Dealer,
this was the day I was terminated from my job. My natural origin is Philippines. According to the
termination notification I was terminated for being in violation of the company point attendance system. The
policy for the attendance system states that each tardy wouldbe % of a point for each tardy less than two
hours into the start of the shift, I had to drive daily to work to a busy highway and this caused me sometirnes
to arrive late to work. The point system allows employees a consistent number of attendance occurrences
within a rolling l2-month period, to be used at the employees' discretion.

 In 2015 a customer falsely accused me of being rude. Often when players are losing money they retaliate
against dealers by making false accusations. I was called in the office by Pam Molone and John Allison,
casino managers, after an investigation Mr. Allison stated that he knew that I didn' t do anything wrong.
After that incident Pam Molone started harassing me and took advantage of her position as a manage. and
changed the policy against me. lnstead of giving me Yzpoint for a tardy she gave me a fulI point for March
23, April 6, April 15, April 28 and luly 7 of 2016. This caused a speedier time frarne for my termination.
SEE ATTACHED PAGES 2, 3, USM-285 & SI]MMARY OF CHART OCCURRENCES



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        was also harassed and humiliated by other supervisors and constantly told to speak
          I

English, this was a way for them to make fun of my accent. I was often skipped over from my
required breaks and put to deal in a 55.00 table, known to be the worst table.

       Non-Philippine individuals had better privileges and treated differently than minorities,
as an example: Angela Miller was given the weekend of September t7 & 18 to attend her
brother's wedding and managers switched her working days so she could have the weekend
off, and they did not issue her any points. This privilege was never offered to me. This was just
one example that clearly shows how non-Philippine individuals are given a better treatment.
Statements were also made to me by managers "we made the rules and we can bend them
too".

       Icame to work one day with a swollen foot and asked the manager to accommodate me
by assigning me to a "sit down" table but they denied my request stating they needed me at
the craps table.

      There were days when I was asked to wait at the end of my shift to make sure everyone
showed up for the replacement shift in case someone was late or did not come in. They asked
me to stay and cover for that person while not asking any other non "Philipine" dealer to do
the same.

   All of these situations that I have described created a very hostile work environment for not
only me but other dealers as well. HC claims they have an open door policy and pride
thernselves on customer service; clearly this only applies to some and not others. There was
no equal treatment there, supervisors had their favorite dealers and customers and did not
follow company protocol the same for everyone. I have always prided myself on a good strong
work ethic with a high sense of integrity and have worked hard my entire life. This whole
experience has caused me great pain and suffering, emotional turmoil as wetl as monetary
losses. lt continues to be a burden to me today.

   I have clearly explained    that there were multiple violations to my civil rights according to
Title Vll of the Civil Rights ACT of 1954. This prohibits employers from discriminating against
employees on the basis of sex, race, color, national origin and religion. I was denied
accommodations with a swollen foot even when I was willing to work. This is according to
"Federal law on disability accommodations is very clear and fair employers must provide a
                                                                     -
reasonable accommodation as long as it causes no undue burden".
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        I   was not protected by my employer, the Defendant, instead I was retaliated against
which created a hostile work environment. I was also not protected against the harassment
and humiliation. I was treated differently than "non-Philippine" workers.

Attachments:
Docket #164L57 6, 7O4 Attendance &       Pu   nctuality
Copy of Process Receipt and Return



Date:       7 -21---t/
